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               14
               15                            UNITED STATES DISTRICT COURT

               16                           CENTRAL DISTRICT OF CALIFORNIA
               17          MICHAEL E. BEYCHOK, JUSTIN               Case No.:
               18          WUNDERLER, MICHAEL
                           MEEGAN, and KEITH MAUER,                 CLASS ACTION COMPLAINT
               19          individually and on behalf of all others
               20          similarly situated,
                                                                    JURY TRIAL DEMANDED
               21                        Plaintiffs,
               22
                           vs.
               23
               24          ROBERT A. BAFFERT, BOB
                           BAFFERT RACING STABLES,
               25          INC., and ZEDAN RACING
               26          STABLES, INC.,
               27                      Defendants.
               28

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                  1             Plaintiffs Michael E. Beychok, Justin Wunderler, Michael Meegan, and
                  2       Keith Mauer, on behalf of themselves and all other similarly situated individuals,
                  3       and through their undersigned counsel, bring this Class Action Lawsuit (the
                  4       “Complaint”) against Defendants Robert A. Baffert, Bob Baffert Racing Stables,
                  5       Inc. (collectively, “Baffert” or the “Baffert Defendants”), and Zedan Racing
                  6       Stables, Inc. (“Zedan Racing”) (collectively “Defendants”) and, based upon
                  7       personal knowledge and the investigation of counsel, allege as follows:
                  8                                 NATURE OF THE ACTION
                  9             1.     Plaintiffs bring this Complaint on behalf of themselves and the
               10         “Class” (defined below) against Defendant Baffert for violations of (i) the
               11         federal Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c)-
               12         (d) (“RICO”); and (ii) the California Control of Profits of Organized Crime Act,
               13         Cal. Penal Code § 186 (“CCPOCA”); and against Defendants Baffert and Zedan
               14         Racing for state common law and equitable fraud.
               15               2.     Specifically, as detailed more fully herein, Baffert participated in
               16         the operation of the affairs of one or more “association-in-fact” enterprises,
               17         described more fully below, and conspired to do so, through a RICO pattern of
               18         racketeering activity.
               19               3.     As described herein, Baffert’s multiple and repeated acts of doping
               20         and entering horses into thoroughbred races, including the Kentucky Derby,
               21         constituted racketeering activity as defined in 18 U.S.C. § 1961(1)(A), 18 U.S.C.
               22         § 1961(1)(B), and Cal. Penal Code § 186 in that he (1) engaged in illegal gambling,
               23         which is chargeable under Cal. Penal Code § 186(a)(8); and (2) violated U.S.C. §
               24         1952(a)(3) by traveling in interstate commerce and using a facility in interstate and
               25         foreign commerce – that is, the simulcast broadcasting by wire and television of
               26         the Kentucky Derby and other races – to promote, manage, establish, carry on, or
               27         facilitate the promotion, management, establishment, or carrying on of any
               28

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                  1       unlawful activity, including in violation of the laws of California, by engaging in
                  2       illegal gambling chargeable under Cal. Penal Code § 186(a)(8).
                  3             4.     Specifically, Baffert’s multiple and repeated acts of illegally doping
                  4       and entering horses into thoroughbred races in the State of California and
                  5       elsewhere constituted a pattern of racketeering activity within the meaning of 18
                  6       U.S.C. § 1961(5) and Cal. Penal Code § 186 as he has committed at least two
                  7       incidents of criminal profiteering within a ten-year period which are related and,
                  8       as a result of his continued involvement in thoroughbred racing, pose a threat of
                  9       continuing criminal activity extending indefinitely into the future.
               10               5.     Plaintiffs’ claims also involve conspiracies between Baffert and
               11         other owners and or trainers to commit the above-described acts to engage in
               12         illegal gambling and/or horse doping through a pattern of racketeering activity.
               13               6.     For example, on May 1, 2021, Defendants entered a doped horse,
               14         Medina Spirit, into the 147th running of The Kentucky Derby at Churchill Downs
               15         in Louisville, Kentucky and won $1,860,000.00 as part of a horse-doping scheme
               16         in thoroughbred racing.
               17               7.     The Baffert Defendants’ unlawful conduct directly injured Plaintiffs
               18         in their business and property. Specifically, on May 1, 2021, Plaintiffs bet upon
               19         the horse that finished in second place behind the drugged horse, Medina Spirit,
               20         at the Kentucky Derby at Churchill Downs on May 1, 2021.
               21               8.     Plaintiff, Michael E. Beychok’s (“Plaintiff Beychok”), betting tickets
               22         cost $966.00, and would have provided a minimum potential payoff of at least
               23         $10,000.00 - $100,000.00. Plaintiff Beychok’s wagers would have won, but for
               24         the illegal, drug-induced win by Medina Spirit. Thus, Plaintiff Beychok is
               25         entitled to bring a civil action against Defendants.
               26               9.     Plaintiff Justin Wunderler’s (“Plaintiff Wunderler”) betting tickets
               27         cost roughly $2,000.00 and would have provided a minimum potential payoff of at
               28         least $40,000. Plaintiff Wunderler’s wagers would have won, but for the illegal,

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                  1       drug-induced win by Medina Spirit. Thus, Plaintiff Wunderler is entitled to bring
                  2       a civil action against Defendants.
                  3             10.    Plaintiff Michael Meegan’s (“Plaintiff Meegan”) betting tickets cost
                  4       roughly $140.00 and would have provided a minimum potential payoff of at least
                  5       $4,000. Plaintiff Meegan’s wagers would have won, but for the illegal, drug-
                  6       induced win by Medina Spirit. Thus, Plaintiff Meegan is entitled to bring a civil
                  7       action against Defendants.
                  8             11.    Plaintiff Keith Mauer’s (“Plaintiff Mauer”) betting tickets cost
                  9       roughly $5 and would have provided a minimum potential payoff in excess of
               10         $100. Plaintiff Mauer’s wagers would have won, but for the illegal, drug-induced
               11         win by Medina Spirit. Thus, Plaintiff Mauer is entitled to bring a civil action
               12         against Defendants.
               13               12.    The Baffert Defendants and Defendant Zedan Racing further engaged
               14         in common law and equitable fraud in that Defendants misrepresented to bettors
               15         that they (1) entered a horse that complied with the race track rules; (2) that the
               16         misrepresentation was material because pari-mutuel wagering cannot function
               17         without fairness and administering a banned substance to a horse is antithetical to
               18         the spirit of fair competition; (3) Defendants knew or believed that their
               19         representation was false; (4) Defendants intended that bettors such as Plaintiffs
               20         would rely on their misrepresentation to induce them to make wagers, as a track’s
               21         purse structure comes directly from the total amount that is bet by the public; (5)
               22         Plaintiffs and the Class relied on these misrepresentations; and (6) Plaintiffs and
               23         the Class were damaged by Defendants’ misrepresentations through the loss of
               24         their bets and winnings.
               25                            PARTIES AND OTHER PARTICIPANTS
               26               13.    Plaintiff Michael Beychok resides in Baton Rouge, Louisiana and is a
               27         part-time, pari-mutuel thoroughbred racing bettor.
               28         //

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                  1             14.    Plaintiff Justin Wunderler resides in Waretown, New Jersey and is a
                  2       part-time, pari-mutuel thoroughbred racing bettor.
                  3             15.    Plaintiff Michael Meegan resides in New York City, New York and
                  4       is a part-time, pari-mutuel thoroughbred racing bettor.
                  5             16.    Plaintiff Keith Mauer resides in Roseville, California and is a part-
                  6       time, pari-mutuel thoroughbred racing bettor.
                  7             17.    Upon information and belief, Defendant Robert A. Baffert resides and
                  8       conducts much of his business, Defendant Bob Baffert Racing Stables, Inc., in or
                  9       around Los Angeles County, California and is a licensed horse trainer of horses,
               10         including Medina Spirit, and was the trainer of Medina Spirit during the race in
               11         question.
               12               18.    Defendant Zedan Racing Stables, Inc. is based in Lexington,
               13         Kentucky, with its racing operations based in Los Angeles, California. Zedan
               14         Racing was the owner of Medina Spirit during the race in question.
               15                                  JURISDICTION AND VENUE
               16               19.    Plaintiffs, individually and on behalf of the Class, assert claims
               17         against Defendants Robert Baffert and Bob Baffert Racing Stables, Inc. that are
               18         founded upon federal questions subject matter jurisdiction under 28 U.S.C. § 1331,
               19         in regard to the Racketeer Influenced and Corrupt Organizations Act,18 U.S.C. §
               20         1962 (“RICO”).
               21               20.    Venue for the Civil RICO claims is appropriate in this Court because
               22         Defendants Robert Baffert and Bob Baffert Racing Stables, Inc. reside and transact
               23         their affairs and conduct business in the State of California and, specifically,
               24         through this District.
               25               21.    Plaintiffs, individually and on behalf of the Class, also assert
               26         common law fraud and equitable fraud claims against all Defendants. As set forth
               27         above, 28 U.S.C. § 1331 vests this Court with original subject matter jurisdiction.
               28         Venue is also proper for these claims in this Court because Defendants reside and

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                  1       transact their affairs and conduct business in the State of California and,
                  2       specifically, through this District.
                  3             22.    This Court also has diversity jurisdiction over this action under the
                  4       Class Action Fairness Act, 28 U.S.C. § 1332(d) because this is a class action
                  5       involving more than 100 class members, the amount in controversy exceeds $5
                  6       million, exclusive of interest and costs, and Plaintiffs and Class Members are
                  7       citizens of states that differ from Defendants.
                  8                                               FACTS
                  9       I.    THE WORLD OF PARI-MUTUEL BETTING AND
                                THOROUGHBRED RACING
               10
               11               23.    Pari-mutuel betting is a system used in gambling on events, like
               12         thoroughbred racing, in which participants finish in a ranked order. All bets of a
               13         particular type are placed together in a pool and payoff odds are calculated by
               14         sharing the pool among all winning bets after taxes and the “house-take” are
               15         removed. The payoff is determined by the pool size minus the “take,” and then
               16         divided by the number of winning tickets.
               17               24.    Transmitting, re-transmitting, receiving, and rebroadcasting
               18         thoroughbred racing occurring live at an in-state location to one or more out-of-
               19         state locations by television or radio, through satellite or other electrical or
               20         electronic means, or receiving at an in-state location events which occur live at an
               21         out-of-state location, known as simulcasting, allows bettors to place wages
               22         without being physically present at the facilities where the race is occurring live.
               23         Race simulcasting also involves transmitting pari-mutuel wagering information to
               24         a central website, so that all bettors, even those in different locations, may
               25         participate in the same betting pool.
               26               25.    Live thoroughbred races occur at various venues within the United
               27         States of America, including at Churchill Downs, one of the world’s most
               28         prestigious and legendary racetracks. Churchill Downs is located in Louisville,

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                  1       Kentucky. The Kentucky Derby is simulcast to other various locations via
                  2       television and through internet betting sites such as TwinSpires.com and other
                  3       wagering companies based in California and other states.
                  4             26.    Bettors and members of the public expect that horses will give their
                  5       best effort in every race and that all horses entered in every race will not be racing
                  6       under the influence of a drug or foreign substance that has been administered
                  7       in violation of racing rules and regulations.
                  8             27.    Individuals who are trainers of thoroughbred racing horses in the
                  9       State of California are required to be licensed under and follow California State
               10         laws, rules, and regulations.
               11               28.    Furthermore, all competitors at Churchill Downs must comply with
               12         Churchill Downs racetrack rules and regulations (the “Racetrack Rules”). The
               13         Racetrack Rules are strictly against the entry or participation of a horse in any race
               14         while carrying drugs or other banned substances in its body. By entering to
               15         compete, the applicants represent that they have abided by the Racetrack Rules.
               16               29.    Bettors, including Plaintiffs and Class Members, rely on participants’
               17         representation that they comport with these laws, regulations, and rules in order
               18         to properly determine which horses to bet on.
               19               30.    Defendants and other owners and trainers intend that bettors rely on
               20         these representations in order to encourage wagering in racing, thereby
               21         increasing the purse total.
               22         II.   DEFENDANTS VIOLATED THE APPLICABLE CALIFORNIA
                                LAW AND RACING RULES, RESULTING IN PLAINTIFFS’ AND
               23               CLASS MEMBERS’ DAMAGES
               24               31.    Plaintiffs make an effort to conduct in- depth research prior to
               25         selecting horses upon which to place their bets. This research is based upon
               26         public information provided to them, some of which is provided by trainers such as
               27
               28

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                  1       the Baffert Defendants,1 and upon the understanding that horse doping is banned
                  2       in the sport of thoroughbred racing. For this reason, Defendants’
                  3       misrepresentation that they were in compliance with laws, regulations, and
                  4       Racetrack Rules on race day are material.
                  5             32.    On May 1, 2021, Plaintiffs placed their bets for the 147th running of
                  6       the Kentucky Derby at Churchill Downs based upon their research and upon
                  7       Defendants’ material misrepresentation that they were in compliance with the laws,
                  8       regulations, and Racetrack Rules governing the Kentucky Derby.
                  9             33.    Medina Spirit won the race, contrary to what Plaintiffs’ analysis and
               10         observations of the horse’s previous racing form and analysis of the race
               11         suggested would be the result. Consequently, the other horses on which Plaintiffs
               12         placed their bets finished second, third, fourth, and fifth, instead of first, second,
               13         third, and fourth.
               14               34.    Following Medina Spirit’s victory on May 1, testing from post-race
               15         blood samples revealed that Medina Spirit had been doped with a performance-
               16         enhancing substance, betamethasone, indicating a violation of the Commonwealth
               17         of Kentucky’s equine medication protocols. As a result, Baffert was suspended
               18         indefinitely by Churchill Downs, however, Plaintiffs’ pari-mutuel wagers were
               19         not altered. Further, assuming Medina Spirit is eventually disqualified by the
               20         Churchill Downs Stewards and placed last, the prize money for the race will be
               21         redistributed with the 2nd place finisher receiving the 1st place prize money, the 3rd
               22         place finisher receiving the 2nd place prize money, etc., However, the bettors of the
               23         race, including Plaintiffs, will not receive the payoffs they would have been
               24         entitled to, but for the illegal participation of Medina Spirit.
               25
               26
               27         1
                            This public information includes, but is not limited to, press conferences,
               28         interviews, the recording and dissemination of workouts, and reports on the
                          general condition of the horse.
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                  1             35.       Upon information and belief, all Defendants knew or should have
                  2       known that betamethasone had been administered to Medina Spirit since the
                  3       horse was stabled at Zedan Racing and was under Defendants’ control, and since
                  4       Defendant Robert Baffert himself admitted that Medina Spirit’s positive test “may
                  5       have been the result of exposure from an ointment that was applied to the colt for
                  6       dermatitis.”2
                  7             36.       While betamethasone is a Class C drug that is allowed in Kentucky as
                  8       a therapeutic, state rules require at least a 14-day withdrawal time before racing,
                  9       and any level of detection on race day is a violation.3
               10               37.       If Medina Spirit had been properly prohibited from competing as a
               11         result of the failure to meet this 14-day withdrawal requirement, Plaintiffs and
               12         Class Members would have won for the following types of bets: (1) win (bettor
               13         picks the horse that wins); (2) place (bettor picks the horse that finishes either
               14         first or second); ( 3) show (bettor picks the horse that finishes first, second, or
               15         third); (4) exacta (bettor picks the two horses that finish first and second, in the
               16         exact order); (5) trifecta (bettor picks the three horses that finish first, second, and
               17         third, in the exact order); (6) superfecta (bettor picks the four horses that finish
               18         first, second, third, and fourth, in the exact order); (7) pick-3, pick-4, or pick-5
               19         wagers; and (8) pick-6 pools (bettors who correctly selected Mandaloun, the 28-1
               20         long shot who, following Medina Spirit’s disqualification, would be the Derby
               21         winner in their pick-6 wagers).
               22               38.       But for the illegal entrance of Medina Spirit into the race, Plaintiff
               23         Beychok would not have lost the $966.00 invested in the race and would have
               24         instead won in excess of $10,000.00.
               25
               26
               27         2
                            See https://www.bloodhorse.com/horse-racing/articles/250061/baffert-ointment-
               28         could-have-caused-derby-drug-positive (last accessed May 11, 2021).
                          3
                            Id.
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                  1              39.   But for the illegal entrance of Medina Spirit into the race, Plaintiff
                  2      Wunderler would not have lost the roughly $2,000 invested in the race and would
                  3      have instead won in excess of $10,000.00.
                  4              40.   But for the illegal entrance of Medina Spirit into the race, Plaintiff
                  5      Meegan would not have lost $140 invested in the race and would have instead won
                  6      in excess of $4,000.00.
                  7              41.   But for the illegal entrance of Medina Spirit into the race, Plaintiff
                  8      Mauer would not have lost the $5 invested in the race and would have instead won
                  9      in excess of $100.
               10        III.    THE RICO ENTERPRISES
               11                A.    The Bob Baffert and Bob Baffert Racing Stables, Inc.
                                       Enterprises
               12
               13                42.   Defendant Bob Baffert Racing Stables, Inc. is an “enterprise”
               14        within the meaning of 18 U.S.C. 1961(4).
               15                43.   Defendant Robert Baffert, as an individual, is also an
               16        “enterprise” within the meaning of 18 U.S.C. 1961(4).
               17                44.   At all relevant times, the Baffert Defendants have been, and
               18        continue to be, engaged in activities affecting interstate commerce, namely,
               19        through training horses racing at various tracks around the country, through
               20        entering horses into competition in various states, including racetracks in
               21        California and Kentucky, through race simulcasting and the rebroadcasting by
               22        television or radio of thoroughbred races occurring live at Churchill Downs
               23        and other racetracks to one or more out-of-state locations, and through
               24        advertisement of their activities via the Bob Baffert Racing Stables, Inc. website. 4
               25                45.   As part of their business model, the Baffert Defendants train horses
               26        owned by other parties, such as Zedan Racing, in order to obtain a portion of the
               27        profits from horse winnings, including casino revenues when applicable. To
               28
                         4
                             See http://www.bobbaffert.com/ (last accessed May 11, 2021).
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                  1      accomplish this purpose, the Baffert Defendants have been known to have used
                  2      betamethasone and other similar performance-enhancing drugs to enhance the
                  3      performance of their trained horses and alter the results of publicly held horse
                  4      racing contests in their trained horses’ favor.
                  5            46.    Upon information and belief, Bob Baffert Racing Stables, Inc. has
                  6      operated as a continuing unit for many years, demonstrating sufficient longevity
                  7      to permit those associated with the enterprise to pursue the enterprise’s
                  8      purpose. The Baffert Defendants have continued in operation, despite several
                  9      doping violations.
               10              47.    As owner of Bob Baffert Racing Stables, Inc. and trainer, Defendant
               11        Robert Baffert profits by the performance of any horse he enters in a race that
               12        finishes in first, second, third place, or any place that pays in that particular race.
               13              B.     The Zedan Racing Stables, Inc. Enterprise
               14              48.    Defendant Zedan Racing Stables, Inc. is an “enterprise” within the
               15        meaning of 18 U.S.C. § 1961(4).
               16               49.   Upon information and belief, Defendant Zedan Racing is the owner
               17        of several thoroughbreds trained by Baffert, including Medina Spirit. As owner
               18        of the thoroughbreds, Zedan Racing conducts, manages, and controls the affairs of
               19        the enterprise.
               20              50.    Zedan Racing has been and continues to be engaged in activities
               21        affecting interstate commerce, namely, racing at various tracks around the
               22        country, through entering horses into competition in various states, including
               23        racetracks in California and Kentucky, and through race simulcasting and the
               24        rebroadcasting by television or radio of thoroughbred races occurring live at
               25        Churchill Downs and other racetracks to one or more out-of-state locations.
               26              51.    As the owner of the horses, including Medina Spirit, Zedan Racing
               27        profits by the performance of any Zedan Racing horse that is entered in a race and
               28        finishes in first, second, third place, or any place that pays in that particular race.

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                  1            C.     The Zedan-Baffert Enterprise
                  2            52.    At all relevant times, there has been and continues to be an
                  3      “association-in-fact” enterprise within the meaning of 18 U.S.C. § 1961(4)
                  4      consisting of Defendant Zedan Racing Stables, Inc., Defendant Robert Baffert, and
                  5      Defendant Bob Baffert Racing Stables, Inc. (the “Zedan-Baffert Enterprise”).
                  6            53.    Zedan Racing, at all times material hereto, served as the owner of the
                  7      horses. Defendants Robert Baffert and Baffert Racing Stables, Inc., at all times
                  8      material hereto, trained the horses.
                  9            54.    At all relevant times, the Zedan-Baffert Enterprise has been, and
               10        continues to be engaged in activities affecting interstate commerce, namely,
               11        racing at various tracks around the country and through entering horses into
               12        competition in various states, including racetracks in California and Kentucky,
               13        through race simulcasting and the rebroadcasting by television or radio of
               14        thoroughbred races occurring live at Churchill Downs and other racetracks.
               15              55.    The Zedan-Baffert Enterprise is separate and distinct from the
               16        members themselves.
               17              56.    Defendants Baffert and Zedan Racing are each associated together
               18        for the common purpose of raising, training, and racing horses in order to win
               19        thoroughbred races, like the Kentucky Derby at issue here.
               20              57.    The Zedan-Baffert Enterprise has operated as a continuing unit
               21        since at least early 2020 and continues, to this day, demonstrating longevity to
               22        permit those associated with the enterprise to pursue the enterprise’s purpose,
               23        as the partnership is ongoing and has continued, despite Baffert’s past of horse-
               24        doping violations.
               25              58.    Each member of the Zedan-Baffert Enterprise performs a role in the
               26        group consistent with its organizational structure. For example, Zedan Racing
               27        conducts the affairs of the Zedan-Baffert enterprise by purchasing thoroughbred
               28        race horses at auction or through other means and placing them in the care of

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                  1      Baffert Racing Stables, Inc., while Baffert manages and controls the training of
                  2      Zedan Racing’s horses.
                  3      IV.   BAFFERT’S PATTERN OF RACKETEERING ACTIVITY
                  4            A.     Federal Statutory Violations
                  5            59.    The Baffert Defendants’ multiple and repeated acts of doping horses
                  6      competing in thoroughbred races in the states across the country, as more fully set
                  7      forth on the attached Exhibit 1, constitute a pattern of racketeering activity as
                  8      defined in 18 U.S.C. § 1961(i), (1)(A), and (1)(B).
                  9            60.    The racketeering activity includes violations of the Travel Act, 18
               10        U.S.C. § 1952(a)(3), through horse doping in pari-mutuel sports betting.
               11        Defendants have traveled and used a facility in interstate and foreign commerce –
               12        that is, the simulcast broadcasting by wire and television of races at Churchill
               13        Downs and other racetracks – to promote, manage, establish, carry on, or
               14        facilitate the promotion, management, establishment, or carrying on of any
               15        unlawful activity, including in violation of the laws of California, by engaging in
               16        illegal gambling chargeable under Cal. Penal Code § 186(a)(8).
               17              B.     Relatedness
               18              61.     The Baffert Defendants’ acts are not isolated events; rather they
               19        are a pattern of events related to each other in that they have similar purposes,
               20        participants, methods of commission, and other distinguishing characteristics.
               21        Relatedness is also established by the fact that all acts were done for the purpose
               22        of winning thoroughbred races, including but not limited to the Kentucky Derby.
               23              62.     For example, in January 2021, the California Horse Racing Board
               24        voted to let eventual 2018 Triple Crown winner and Baffert-trained horse, Justify,
               25        keep his Santa Anita Derby victory, despite the detection of scopolamine in
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                  1      postrace samples Justify. The positive tests were revealed in a New York Times
                  2      story in September 2019.5
                  3            63.     On October 20, 2020, a Baffert-trained horse was disqualified from
                  4      third to last in the Kentucky Oaks, which was held on September 4, 2020, after
                  5      testing positive with twenty-seven (27) picograms of betamethasone. Baffert did
                  6      not appeal and was fined $1,500. 6
                  7            64.     On July 25, 2020, another Baffert-trained horse finished second in a
                  8      race at Del Mar in California then tested positive after the race for the medication,
                  9      dextromethorphan. Baffert was fined $2,500 for the violation on November 30,
               10        2020. 7
               11              65.     In May 2020, two Baffert-trained horses tested positive for the
               12        painkiller lidocaine after victories at Oaklawn Park. Tests revealed 185 picograms
               13        in one horse, and 46 in the other. Arkansas stewards initially fined and suspended
               14        Baffert fifteen (15) days for the violation. His appeal was heard, and the
               15        suspension was lifted, with fines reduced to $5,000 per horse. 8
               16              66.     On August 3, 2019, a Baffert-trained horse that finished fourth in a
               17        race at Del Mar tested positive for phenylbutazone. Baffert was fined $1,500 for
               18        violation of the California Horse Racing Board rules. Baffert had been fined
               19        $5,000 just a week earlier for the same violation with another horse.
               20              67.    These and many other confirmed acts of horse doping by the Baffert
               21        Defendants in recent years and throughout his career were attempts to further
               22        their goal of collecting the winning purse from the events in which their trained
               23        horses compete. Although continually fined by stewards for medication violations,
               24
               25
                         5
               26          See https://apnews.com/article/ky-state-wire-bob-baffert-sports-
                         360b419b7f6fde781c78899976e2be7c (last accessed May 11, 2020).
               27        6
                           Id.
                         7
               28          Id.
                         8
                           Id.
                                                                 -13-
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                  1      the violations have continued, finally leading to a violation in the most important
                  2      horse race in America, the 147th running of the Kentucky Derby.
                  3            68.    Moreover, in a further pattern of deceit, Defendant Robert Baffert
                  4      released the following statement to the press on November 4, 2020, just two days
                  5      before one of the biggest racing events of the year, the Breeder’s Cup:
                  6             “2020 has been a difficult year for everyone. It has been no
                                exception for my family, my barn, and me. I am very aware of the
                  7
                                several incidents this year concerning my horses and the impact it
                  8             has had on my family, horse racing, and me. I want to have a
                                positive influence on the sport of horse racing. Horses have been my
                  9
                                life and I owe everything to them and the tremendous sport in which
               10               I have been so fortunate to be involved. We can always do better and
                                that is my goal. Given what has transpired this year, I intend to do
               11
                                everything possible to ensure I receive no further medication
               12               complaints. As such, I want to announce that, beginning
                                immediately, I plan to implement the following procedures in an
               13
                                effort to make my barn one of the leaders in best practices and rule
               14               compliance:
               15
                                1. I am retaining Dr. Michael Hore of the Hagyard Equine Medical
               16               Institute to add an additional layer of protection to ensure the well-
               17               being of horses in my care and rule compliance.
                                2. I am increasing the training and awareness of all my employees
               18               when it comes to proper protocols.
               19               3. I am personally increasing my oversight and commitment to
                                running a tight ship and being careful that protective measures are in
               20               place.
               21
                                I want to raise the bar and set the standard for equine safety and rule
               22               compliance going forward. For those of you that have been upset
               23               over the incidents of this past year, I share in your disappointment. I
                                humbly vow to do everything within my power to do better. I want
               24               my legacy to be one of making every effort to do right by the horse
               25               and the sport.”9

               26
               27
                         9
               28          See Baffert Issues Statement on Medication Issues (thoroughbreddailynews.com)
                         (last accessed May 13, 2021).
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                  1               69.   Bettors were asked to assume that the Baffert Defendants had cleaned
                  2      up their act and would be taking every step possible to ensure the horses in their
                  3      care would no longer be administered illegal drugs prior to racing. Bettors,
                  4      including Plaintiffs and the Class, relied on these assurances from the Baffert
                  5      Defendants.
                  6               70.   On May 12, 2021, Defendant Robert Baffert’s attorney, Craig
                  7      Robertson, stated the following on the previously represented hiring of Dr. Michael
                  8      Hore:
                  9                     “There were initial discussions and plan to begin the process of
                                        it materializing … They did not materialize as expected due to
               10
                                        COVID, but I’ve had conversations with Dr. Hore the last
               11                       couple days about that very subject and discussing about
                                        getting that back on track.”10
               12
               13                 71.   Thus, once again, bettors (including Plaintiffs and the Class) were
               14        misled to place wagers under misleading circumstances, as the Baffert Defendants
               15        knowingly provided false information to the public and manipulated the media in
               16        order to enhance their reputation. This misrepresentation comes at the detriment of
               17        the bettors who rely on public information when betting on races, as discussed
               18        supra.
               19                 C.    Continuity
               20                 72.   The Baffert Defendants’ related pattern of racketeering acts and other
               21        violations have extended as far back as at least 1993, and have continued through
               22        the present, as shown in Exhibit 1 and further highlighted in Section IV(b) above.
               23                 73.   Their excuses for the doping violations he has committed over the
               24        years have included the following:
               25                 a.    A bagel containing poppy seeds may have been placed in Defendant
               26                       Robert Baffert’s barn;
               27
                         10
               28          Hore's Advisory Role for Baffert Did Not Materialize - BloodHorse (last
                         accessed May 13, 2021).
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                  1            b.     an employee wearing a “Salonpas” pain relief patch on his back may
                  2                   have transferred lidocaine from the patch to the horses when the
                  3                   employee applied their tongue ties; and
                  4            c.     a groom, who had been taking cough syrup, peed on hay in a horse
                  5                   stall and the horse then ate the hay and tested positive.
                  6            d.     the feed that Triple Crown winner, Justify, ate contained Jimson
                  7                   Weed, which was responsible for Justify’s positive drug test for
                  8                   scopolamine after his victory in the Santa Anita Derby.
                  9            74.    These related predicate acts (and non-credible incredible excuses),
               10        constitute a pattern of racketeering activities affecting interstate commerce
               11        designed to harm multiple parties. There is no foreseeable endpoint to the
               12        Baffert Defendants’ acts of racketeering against bettors like Plaintiffs and the
               13        Class, which qualify as a continued threat of long-term racketeering activity to
               14        future victims.
               15              75.    The Baffert Defendants, despite having been banned from racetracks
               16        in the past for doping, continue to train horses and enter them into racing
               17        competitions to this day, including two horses in the 146th Preakness, to be run May
               18        15th at Pimlico (one of which is Medina Spirit, who just tested positive in the
               19        Kentucky Derby).
               20                                CLASS ACTION ALLEGATIONS
               21              76.    Plaintiffs bring this action under Federal Rule of Civil Procedure 23
               22        against Defendants individually and on behalf of all others similarly situated.
               23        Plaintiffs assert all claims on behalf of the Class, defined as follows:
               24        Nationwide Class
               25
                                      All Kentucky Derby bettors who would have won their
               26                     bets and winnings had Medina Spirit been properly
                                      prohibited from competing in the Kentucky Derby on
               27
                                      May 1, 2021 or competed without the aid of an illegal
               28                     drug.
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                  1               77.   Excluded from the Nationwide Class (also defined as “Class”) are
                  2      Defendants, any entity in which Defendants have a controlling interest, and
                  3      Defendants’ officers, directors, legal representatives, successors, subsidiaries, and
                  4      assigns. Also excluded from the Class is any judge, justice, or judicial officer
                  5      presiding over this matter, and members of their immediate families and judicial
                  6      staff.
                  7               78.   Plaintiffs reserve the right to amend the above definitions or to
                  8      propose alternative or additional subclasses in subsequent pleadings and motions
                  9      for class certification.
               10                 79.   The members of the Class are referred to herein as “Class Members.”
               11                 80.   Plaintiffs seek the certification of the Class under Rule 23 and RICO.
               12                 A.    Class Certification is Appropriate
               13                 81.   The proposed Class meets the requirements of Fed. R. Civ. P. 23(a),
               14        (b)(1), (b)(2), (b)(3), and (c)(4).
               15                 82.   Numerosity: The proposed Class is believed to be so numerous that
               16        joinder of all members is impracticable.
               17                 83.   Typicality: Plaintiffs’ claims are typical of the claims of the Class.
               18        Plaintiff and all members of the Class were injured through Defendants’ uniform
               19        misconduct. The same event and conduct that gave rise to Plaintiffs’ claims are
               20        identical to those that give rise to the claims of every other Class Member because
               21        Plaintiff and each member of the Class lost money as a result of Defendants’
               22        RICO violations and violations of common law.
               23                 84.   Adequacy: Plaintiffs are adequate representatives of the Class
               24        because their interests do not conflict with the interests of the Class that they seek
               25        to represent; Plaintiffs have retained counsel competent and highly experienced in
               26        consumer protection class action litigation; and Plaintiffs and Plaintiffs’ counsel
               27        intend to prosecute this action vigorously. The interests of the Class will be fairly
               28        and adequately protected by Plaintiffs and their counsel.

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                  1            85.    Superiority: A class action is superior to other available means of fair
                  2      and efficient adjudication of the claims of Plaintiffs and the Class. The injury
                  3      suffered by each individual Class Member is relatively small in comparison to the
                  4      burden and expense of individual prosecution of complex and expensive litigation.
                  5      It would be very difficult, if not impossible, for members of the Class individually
                  6      to effectively redress Defendants’ wrongdoing. Even if Class Members could
                  7      afford such individual litigation, the court system could not. Individualized
                  8      litigation presents a potential for inconsistent or contradictory judgments.
                  9      Individualized litigation increases the delay and expense to all parties, and to the
               10        court system, presented by the complex legal and factual issues of the case. By
               11        contrast, the class action device presents far fewer management difficulties and
               12        provides benefits of single adjudication, economy of scale, and comprehensive
               13        supervision by a single court.
               14              86.    Commonality and Predominance: There are many questions of law
               15        and fact common to the claims of Plaintiffs and the other members of the Class,
               16        and those questions predominate over any questions that may affect individual
               17        members of the Class. Common questions for the Class include:
               18              a.     Whether Defendants engaged in the wrongful conduct alleged herein;
               19              b.     Whether the Baffert Defendants engaged in RICO violations as
               20                     alleged herein;
               21              c.     Whether Defendants’ conduct, as alleged herein, resulted in or was
               22                     the proximate cause of the monetary losses suffered by Plaintiffs and
               23                     the Class;
               24              d.     Whether Plaintiffs and the Class suffered injury as a proximate result
               25                     of Defendants’ actions;
               26              e.     Whether Plaintiffs and the Class are entitled to recover damages,
               27                     equitable relief, and other relief;
               28              f.     Whether Defendants’ actions alleged herein constitute fraud;

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                  1            g.     Whether Defendants’ actions alleged herein constitute equitable
                  2                   fraud; and
                  3            h.     Whether Plaintiff and Class members are entitled to punitive
                  4                   damages.
                  5                                FIRST CAUSE OF ACTION
                  6                Violations of the Federal RICO Act, 18 U.S.C. § 1962(c)
                           (On behalf of the Class against Defendants Robert Baffert and Bob Baffert
                  7
                                                      Racing Stables, Inc.)
                  8
                  9            87.    All paragraphs set forth above are incorporated by reference as if
               10        fully set forth herein.
               11              88.    Plaintiffs and Class Members are persons “capable of holding a legal
               12        or beneficial interest in property” and thus, are “person[s]” within the meaning of
               13        18 U.S.C. § 1961(3).
               14              89.    The Baffert Defendants are also persons or entities “capable of
               15        holding a legal or beneficial interest in property” and thus, are a “person” and
               16        an “entity” within the meaning of 18 U.S.C. § 1961(3).
               17              90.    Zedan Racing is an “enterprise” within the meaning of 18 U.S.C. §
               18        1961(4) and 1962(c). Zedan Racing was engaged in activities affecting interstate
               19        commerce at all times relevant to this complaint.
               20              91.    The Zedan-Baffert Enterprise is an “enterprise” within the meaning
               21        of 18 U.S.C. § 1961(4) and 1962(c). The Zedan-Baffert Enterprise was
               22        engaged in activities affecting interstate commerce at all times relevant to this
               23        complaint.
               24              92.    The Baffert Defendants were associated with the enterprises of
               25        Zedan Racing and the Zedan-Baffert Enterprise and have conducted or
               26        participated, directly or indirectly, in the management and operation of the
               27        affairs of each through a pattern of racketeering activity under 18 U.S.C. §§
               28        1961(1) and 1961(5).

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                  1            93.    The Baffert Defendants have conducted or participated, directly or
                  2      indirectly, in the conduct of the enterprises through a pattern of racketeering
                  3      activity within the meaning of 18 U.S.C. § 1962(c).
                  4            94.    The pattern of racketeering activity under 18 U.S.C. §§ 1961(1)(A)
                  5      and (5) includes the multiple, repeated, and continuous acts of engaging in
                  6      gambling chargeable under California law, which prohibits them from engaging
                  7      in illegal gambling chargeable under Cal. Penal Code § 186(a)(8).
                  8            95.    The pattern of racketeering activity under 18 U.S.C. §§ 1961(1)(B),
                  9      1961(5), and 18 U.S.C. § 1952(a)(3) also includes traveling in interstate
               10        commerce and using a facility in interstate and foreign commerce – that is, the
               11        simulcast broadcasting by wire and television of races at Churchill Downs and
               12        other tracks – to promote, manage, establish, carry on, or facilitate the promotion,
               13        management, establishment, or carrying on of any unlawful activity, including in
               14        violation of the laws of California, by engaging in illegal gambling chargeable
               15        under Cal. Penal Code § 186(a)(8).
               16              96.    As a direct result of the Baffert Defendants’ violations of 18
               17        U.S.C. §§ 1962(c), Plaintiffs and the Class have suffered substantial injury to their
               18        business or property within the meaning of 18 U.S.C. §§ 1964(c), including
               19        damages in the amounts alleged in the Complaint and to be further determined at
               20        trial. Plaintiffs and the Class are “persons” under 18 U.S.C. § 1962 and may sue
               21        therefore in this Court and “recover threefold the damages he sustains and the cost
               22        of the suit, including a reasonable attorney’s fee,” pursuant to 18 U.S.C. § 1964(c).
               23                                  SECOND CAUSE OF ACTION
               24         Violations of 18 U.S.C. § 1962(d) by Conspiring to Violate 18 U.S.C. 1962(c)
                          (On behalf of the Class against Defendants Robert Baffert and Bob Baffert
               25
                                                      Racing Stables, Inc.)
               26
               27              97.    All paragraphs set forth above are incorporated by reference as if
               28        fully set forth herein.
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                  1            98.    Plaintiffs and Class Members are persons “capable of holding a legal
                  2      or beneficial interest in property” and thus, are “person[s]” within the meaning of
                  3      18 U.S.C. § 1961(3).
                  4            99.    The Baffert Defendants are also “person[s]” or “ entit[ies]” that are
                  5      “capable of holding a legal or beneficial interest in property” and thus, are a
                  6      person or entity within the meaning of 18 U.S.C. § 1961(3).
                  7            100. The Baffert Defendants conspired with other individuals within the
                  8      meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c). Specifically,
                  9      upon information and belief, the Baffert Defendants conspired together and with
               10        other individuals to conduct or participate, directly or indirectly, in the pattern
               11        of racketeering activity set forth in this Complaint.
               12              101. This act of conspiring to engage in the pattern of racketeering activity
               13        alleged herein, which falls under 18 U.S.C. §§ 1961(1)(A), 1961(1)(B), and
               14        1961(5), includes the multiple, repeated, and continuous acts of engaging in
               15        illegal gambling, which is also chargeable under Cal. Penal Code § 186(a)(8).
               16              102. The pattern of racketeering activity under 18 U.S.C. §§ 1961(1)(B),
               17        (5), and 18 U.S.C. § 1952(a)(3) also includes traveling in interstate commerce
               18        and using a facility in interstate and foreign commerce – that is, the simulcast
               19        broadcasting by wire and television of races at Churchill Downs and other tracks
               20        – to promote, manage, establish, carry on, or facilitate the promotion,
               21        management, establishment, or carrying on of any unlawful activity, including in
               22        violation of the laws of California, by engaging in illegal gambling chargeable
               23        under Cal. Penal Code § 186(a)(8).
               24              103. As a direct result of the Baffert Defendants’ violation of 18
               25        U.S.C. § 1962(c), Plaintiffs and the Class have suffered substantial injury to their
               26        business or property within the meaning of 18 U.S.C. § 1964(c), including
               27        damages in the amounts alleged in the Complaint, to be further determined at trial.
               28        //

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                  1                                  THIRD CAUSE OF ACTION
                  2                                   Common Law Fraud
                                          (On behalf of the Class against all Defendants)
                  3
                  4            104. All paragraphs set forth above are incorporated by reference as if
                  5      fully set forth herein.
                  6            105. Defendants misrepresented to bettors that they entered a horse that
                  7      complied with the Racetrack Rules, including and especially those regarding
                  8      horse doping. The Baffert Defendants also misrepresented that they would be
                  9      retaining Dr. Michael Hore prior to the race to ensure rule compliance.
               10              106. Defendants made these misrepresentation by virtue of, among other
               11        things, presenting Medina Spirit to race in the Kentucky Derby, as though they
               12        were compliant with Racetrack Rules.
               13              107. The Defendants’ misrepresentation was material because pari-mutuel
               14        wagering cannot function without fairness and administering a banned substance
               15        to a horse is unethical and in contra to the spirit of fair competition.
               16              108. Upon information and belief, defendants knew or believed that their
               17        representation was false.
               18              109. Defendants intended that bettors such as Plaintiffs would rely on their
               19        misrepresentation to induce them to make wagers, as a track’s purse structure and
               20        bet payouts come directly from the total amount bet by the public.
               21              110. Plaintiffs and Class Members relied on these misrepresentations when
               22        researching and selecting horses upon which to place their bets.
               23              111. Plaintiffs and Class Members were damaged due to Defendants’
               24        misrepresentations through the loss of their bets and winnings.
               25        //
               26        //
               27        //
               28        //
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                  1                                FOURTH CAUSE OF ACTION
                  2                                       Equitable Fraud
                                           (On behalf of the Class against all Defendants)
                  3
                  4             112. All paragraphs set forth above are incorporated by reference as if
                  5      fully set forth herein.
                  6             113. Defendants misrepresented to bettors that they entered a horse that
                  7      complied with the Racetrack Rules, including and especially those regarding
                  8      horse doping. The Baffert Defendants also misrepresented that they would be
                  9      retaining Dr. Michael Hore prior to the race to ensure rule compliance.
               10               114. These misrepresentations were material because pari-mutuel wagering
               11        cannot function without fairness, and administering a banned substance to a horse
               12        is antithetical to the spirit of fair competition.
               13               115. Defendants intended that bettors such as Plaintiffs would rely on their
               14        misrepresentations to induce them to make wagers, as a track’s purse structure
               15        comes directly from the total amount bet by the public.
               16               116. Plaintiffs and Class Members relied on these misrepresentations when
               17        researching and selecting horses upon which to place their bets.
               18               117. Plaintiffs and Class Members were damaged, due to Defendants’
               19        misrepresentations, through the loss of their bets and winnings.
               20                                      REQUEST FOR RELIEF
               21               WHEREFORE, Plaintiffs respectfully request the Court grant judgment
               22        against Defendants and in favor of Plaintiffs as follows:
               23               a.     certifying this action as a class action under Fed. R. Civ. P. 23,
               24                      defining the Class as requested herein, appointing the undersigned as
               25                      Class counsel, and finding that Plaintiffs are proper representatives of
               26                      the Class requested herein;
               27               b.     awarding damages in favor of Plaintiffs and the Class against the
               28                      Baffert Defendants, with pre- and post-suit interest thereon and other
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                  1                  appropriate monetary relief, including attorney fees, expenses, costs,
                  2                  and such other further relief as is just and proper, for their violations
                  3                  of federal RICO law;
                  4            c.    awarding injunctive relief enjoining the Baffert Defendants from
                  5                  engaging in any further racketeering acts;
                  6            d.    ordering the Baffert Defendants to divest themselves of any interest
                  7                  (direct or indirect) in any enterprise, and imposing reasonable
                  8                  restrictions on the Baffert Defendants’ future activities in
                  9                  thoroughbred racing;
               10              e.    requiring Defendants to pay the costs involved in notifying the Class
               11                    Members about the judgment and administering the claims process;
               12              f.    awarding damages against all Defendants, jointly and severally,
               13                    together with pre- and post-suit interest thereon, for the common law
               14                    fraud claims against them;
               15              g.    awarding Plaintiffs reasonable costs and expenses incurred in this
               16                    action, including but not limited to counsel fees and expert fees;
               17              h.    ordering Defendants to pay to Plaintiff and the Class the amount they
               18                    would have won, but for the illegal doping of Medina Spirit;
               19              i.    awarding Plaintiff and the Class treble, consequential, and punitive
               20                    damages; and
               21              j.    awarding Plaintiff such other and further relief as the Court may
               22                    deem just and proper.
               23                                DEMAND FOR JURY TRIAL
               24              Plaintiff hereby demands a trial by jury on all appropriate issues raised in
               25        this Class Action Complaint.
               26        //
               27        //
               28        //
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                  1      DATED: May 13, 2021             GREEN & NOBLIN, P.C.
                  2
                  3
                                                         By:     /s/ Robert S. Green
                  4
                                                                 Robert S. Green
                  5
                                                               James Robert Noblin
                  6
                                                               Emrah M. Sumer
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                                                               Daniel P. Markoff
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               18                                              ATKINS MARKOFF ADLER
                                                               LAW FIRM
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                                                               Telephone: (405) 607-8757
               21                                              Facsimile: (405) 607-8749
               22
                                                               Counsel for Plaintiffs and the Proposed
               23                                              Class
               24
               25
               26
               27
               28

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                               EXHIBIT 1
7/15/2020Case   2:21-cv-04045-DMG-AFM Document   1 Comprehensive
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                                                                 Ruling Report

                                             Comprehensive Ruling Report
                                               Rulings Against: BOB A BAFFERT

 Legal Name: BOB A BAFFERT
 Birth Date: 1/13/1953

                                                        61 Total Ruling(s) Listed


"Multiple medication violation points and point totals are for advisory and informational purposes only to indicate the existence of regulatory
 medication violation determinations made by racing regulatory entities in order to notify officials of possible aggravating factors that should
be reviewed by officials prior to taking regulatory action. Confirmation of violations should be made directly with the racing regulatory entity
                                                                  responsible."

Ruling #: 1

 Ruling Number:          2020-OP-29                          Date:                 7/14/2020
 Issued By:              Arkansas Racing                     Facility:             Oaklawn Park
                         Commission
 Ruling Type:            By Order of
                         Commission/Administration
 Division:               Horse                               Breed:              Thoroughbred
 Effective Date:         7/14/2020                           Race Date:          N/A
 Infraction Date:        5/2/2020                            Infraction Faciliy: Oaklawn Park
 Race Number:            N/A                                 Animal Name:          N/A
 Under Appeal:           False                               Appeal Date:          N/A
 Fine Amount:            $0                                  Fine Paid:            N/A
 Suspension Start: 8/1/2020                                  Suspension End: 8/15/2020
 Actions:

 Alpha Ruling: 2020-OP-29                         Action Type: Initial   Ruling                    Issue Date: 7/14/2020
 Action Text:
 Trainer Bob Baffert is suspended for fifteen (15) days, Saturday, August 1, 2020 through and including Saturday,
 August 15, 2020 for violation of Arkansas Racing Commission Rule 1233. The trainer shall be responsible for
 and be the absolute insurer of the condition of an entry the trainer enters regardless of the acts of third parties.

Ruling #: 2

 Ruling Number:          2020-OP-28                          Date:                 7/14/2020
 Issued By:              Arkansas Racing                     Facility:             Oaklawn Park
                         Commission
 Ruling Type:            By Order of
                         Commission/Administration
 Division:               Horse                               Breed:                Thoroughbred
 Effective Date:         7/14/2020                           Race Date:            5/2/2020
 Infraction Date:        5/2/2020                            Infraction Faciliy:   Oaklawn Park
 Race Number:            7                                   Animal Name:          Gamine
 Under Appeal:           False                               Appeal Date:          N/A
 Fine Amount:            $0                                  Fine Paid:            N/A
https://www.arci-members.com/Rulings/AllRulingsReport.asp?ID=2097139                                                                        1/28
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 Suspension Start: None                                      Suspension End: None
 Actions:

 Alpha Ruling: 2020-OP-28                         Action Type: Initial   Ruling               Issue Date: 7/14/2020
 Action Text:
 On report of Truesdail Laboratories Incorporated, the official testing laboratory of the Arkansas Racing
 Commission, that the sample taken from "Gamine", first place finisher in the seventh race, Saturday, May 2,
 2020, contained the prohibited substance 3-hydroxlidocaine which is a class two (2) substance, included in the
 uniform classification guidelines for foreign substances, provided by the Association of Racing Commissioners
 International Incorporated. In violation of Arkansas Racing Commission Rule 1217(b) "Gamine" is disqualified
 and unplaced. The purse of the race is redistributed as follows: first, "Speech", second, "Queen Bridget", third,
 "Kiss the Girl", fourth, "A'int Elmers", fifth, "Bootytama", sixth, "Foreign Exchange", seventh, "Seahawk Lisa",
 eighth, "Black Kat Taps", ninth, "Roadrunner's Honor", tenth, "Orquidias Biz". Pari-mutuel wagering is not
 affected by this ruling.


Ruling #: 3

 Ruling Number:          2020-OP-27                Date:                          7/14/2020
 Issued By:              Arkansas Racing           Facility:                      Oaklawn Park
                         Commission
 Ruling Type:            By Order of
                         Commission/Administration
 Division:               Horse                               Breed:               Thoroughbred
 Effective Date:         7/14/2020                           Race Date:           7/2/2020
 Infraction Date:        5/2/2020                            Infraction Faciliy: Oaklawn Park
 Race Number:            11                                  Animal Name:         Charlatan
 Under Appeal:           False                               Appeal Date:         N/A
 Fine Amount:            $0                                  Fine Paid:           N/A
 Suspension Start: None                                      Suspension End: None
 Actions:

 Alpha Ruling: 2020-OP-27                         Action Type: Initial   Ruling               Issue Date: 7/14/2020
 Action Text:
 On report of Truesdail Laboratories Incorporated, the official testing laboratory for the Arkansas Racing
 Commission, that the blood sample taken from "Charlatan", first place finisher in the eleventh race, Saturday
 May 2, 2020, contained the prohibited substance 3-hydroxylidocaine, which is a class two (2) substance,
 included in the uniform classification guidelines for foreign substances, provided by the Association of Racing
 Commissioners International Incorporated. In violation of Arkansas Racing Commission Rule 1217(b),
 "Charlatan" is disqualified and unplaced. The purse of this race is redistributed as follows: first, "Basin", second,
 "Gouverneur Morris", third, "Winning Impression", fourth, "Anneau d Or", fifth, "Crypto Cash, sixth, "Mo Mosa",
 seventh, "Jungle Runner", eighth, "My Friends Beer". Pari-mutuel wagering is not affected by this ruling.

Ruling #: 4

 Ruling Number:          LATS008                    Date:                  1/20/2013
 Issued By:              California Horse           Facility:              Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Failure to Have
                         Horse Properly
                         Shod
 Division:               Horse                      Breed:                 Thoroughbred
https://www.arci-members.com/Rulings/AllRulingsReport.asp?ID=2097139                                                  2/28
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 Effective Date:         N/A                        Race Date:             N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:           N/A
 Under Appeal:           False                      Appeal Date:           N/A
 Fine Amount:            $ 200                      Fine Paid:             N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS008                            Action Type: Initial   Ruling               Issue Date: 1/20/2013
 Action Text:
 Trainer BOB BAFFERT is fined TWO HUNDRED DOLLARS ($200.00)* pursuant to California Horse Racing
 Board rule #1530 (Cases Not Covered by Rules and Regulations) for failure to have his horse “Lady Ten”
 properly shod for the eighth race at Santa Anita Park on January 19, 2013.


Ruling #: 5

 Ruling Number:          12705                      Date:                  10/10/2012
 Issued By:              Indiana Racing             Facility:              Hoosier Park
                         Commission
 Ruling Type:            Race Office/Track
                         Rule Violation
 Division:               Horse                      Breed:                 Thoroughbred
 Effective Date:         N/A                        Race Date:             N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:           N/A
 Under Appeal:           False                      Appeal Date:           N/A
 Fine Amount:      $ 100                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: 12705                            Action Type: Initial   Ruling               Issue Date: 10/10/2012
 Action Text:
 Trainer Bob Baffert is fined one hundred dollars ($100) for attempting to use blinkers on "Ellafitz" in the Tenth
 Race on October 6, 2012, that did not meet the minimum cup requirements of 1 1/2 inches, a violation of 71 IAC
 7.5-6-1 (g).


Ruling #: 6

 Ruling Number:          HRTH004                    Date:                  11/19/2011
 Issued By:              California Horse           Facility:              Hollywood Park
                         Racing Board
 Ruling Type:            Failure to Follow
                         Facility Regulations
 Division:               Horse                Breed:                       Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:           N/A
 Under Appeal:           False                      Appeal Date:           N/A
https://www.arci-members.com/Rulings/AllRulingsReport.asp?ID=2097139                                                  3/28
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 Fine Amount:      $ 100                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: HRTH004                           Action Type: Initial   Ruling            Issue Date: 11/19/2011
 Action Text:
 Trainer BOB BAFFERT is fined ONE HUNDRED DOLLARS ($100.00)* pursuant to California Horse Racing
 Board rule #1437 (Conditions of a Race Meeting-authorizing a workout while the horse ambulance was on the
 race track). *Rule 1532 - Fine shall be paid to the Paymaster within seven calendar days from the date of this
 ruling or the license of the person upon whom the fine has been imposed shall be suspended.


Ruling #: 7

 Ruling Number:          DMTD045              Date:                        8/25/2010
 Issued By:              California Horse     Facility:                    Del Mar
                         Racing Board
 Ruling Type:            Failure to Follow
                         Facility Regulations
 Division:               Horse                      Breed:                 Thoroughbred
 Effective Date:         N/A                        Race Date:             N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:        N/A
 Under Appeal:           False                      Appeal Date:        N/A
 Fine Amount:      $ 100                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: DMTD045                            Action Type: Initial   Ruling             Issue Date: 8/25/2010
 Action Text:
 Trainer Bob Baffert is fined One Hundred Dollars*($100) for violation of California Horse Racing Board rule
 #1930 (Obedience to Security Officers and Public Safety Officers – parking violations). *Rule # 1532 – Fine shall
 be paid to the Paymaster within seven calendar days from the date of this ruling, or the person upon whom the
 fine is imposed shall be suspended.


Ruling #: 8

 Ruling Number:          DMTD004                    Date:                  7/28/2010
 Issued By:              California Horse           Facility:              Del Mar
                         Racing Board
 Ruling Type:            Failure to Have
                         Horse Properly
                         Shod
 Division:               Horse                      Breed:                 Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:        N/A
 Under Appeal:           False                      Appeal Date:           N/A
 Fine Amount:            $ 200                      Fine Paid:             N/A
 Suspension Start: None                             Suspension End: None
https://www.arci-members.com/Rulings/AllRulingsReport.asp?ID=2097139                                                4/28
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 Actions:

 Alpha Ruling: DMTD004                            Action Type: Initial   Ruling               Issue Date: 7/28/2010
 Action Text:
 Trainer BOB BAFFERT is fined two hundred dollars ($200.00)* pursuant to California Horse Racing Board rule
 1555 (Duties of Horseshoe Inspector) for violation of California Horse Racing Board rule 1437 (Conditions of a
 Race Meeting – horse improperly shod for turf) before the running of the sixth race on July 23, 2010 at Del Mar
 Race Track. *Rule # 1532 – Fine shall be paid to the Paymaster within seven calendar days from the date of this
 ruling, or the person upon whom the fine is imposed shall be suspended


Ruling #: 9

 Ruling Number:          LATS061                    Date:                   3/4/2010
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Flunixin
 Fine Amount:      $ 1000                           Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS061                              Action Type: Initial   Ruling                Issue Date: 3/4/2010
 Action Text:
 Trainer ROBERT “BOB” BAFFERT, who started the horse “Mother Ruth”, the fifth place finisher in the third race
 at Santa Anita Race Track on January 7, 2010, is fined ONE THOUSAND DOLLARS ($1,000.00)* pursuant to
 California Horse Racing Board rule #1887 (Trainer to Insure Condition of Horse) for violation of California Horse
 Racing Board rule #1844 (c) (2) (Authorized Medication – Flunixin in excess of permitted level – 1st offense).
 *Rule #1532. Fine shall be paid to the Paymaster within seven calendar days from the date of this ruling, or the
 license of the person upon whom the fine has been imposed shall be suspended.


Ruling #: 10

 Ruling Number:          DMTD034                    Date:                   8/23/2009
 Issued By:              California Horse           Facility:               Del Mar
                         Racing Board
 Ruling Type:            Failure to Properly
                         Identify/Present
                         Horse or Greyhound
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:        N/A
 Under Appeal:           False                      Appeal Date:        N/A

https://www.arci-members.com/Rulings/AllRulingsReport.asp?ID=2097139                                                    5/28
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 Fine Amount:      $ 100                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: DMTD034                            Action Type: Initial   Ruling              Issue Date: 8/23/2009
 Action Text:
 Trainer BOB BAFFERT is fined ONE HUNDRED DOLLARS ($100)* for violation of California Horse Racing
 Board rules #1852(Reporting to Receiving Barn) and #1894(Duties of Trainer) with his horse RICHARD’S KID in
 the eighth race at Del Mar Thoroughbred Club on August 5, 2009. *Rule # 1532 – Fine shall be paid to the
 Paymaster within seven calendar days from the date of this ruling, or the person upon whom the fine is imposed
 shall be suspended.


Ruling #: 11

 Ruling Number:          HRTH028                    Date:                  5/28/2009
 Issued By:              California Horse    Facility:                     Hollywood Park
                         Racing Board
 Ruling Type:            Failure to Properly
                         Identify/Present
                         Horse or Greyhound
 Division:               Horse               Breed:                        Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:           N/A
 Under Appeal:           False                      Appeal Date:           N/A
 Fine Amount:            $ 100                      Fine Paid:             N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: HRTH028                            Action Type: Initial   Ruling              Issue Date: 5/28/2009
 Action Text:
 Trainer BOB BAFFERT, is fined ONE HUNDRED DOLLARS ($100.00)* for violation of California Horse Racing
 Board rules #1852 (Reporting to Receiving Barn Late) and #1894 (Duties of Trainer) with his horse
 “Underground” in the fourth race on May 16, 2009. *Rule 1532 - Fine shall be paid to the Paymaster within
 seven calendar days from the date of this ruling or the license of the person upon whom the fine has been
 imposed shall be suspended.


Ruling #: 12

 Ruling Number:          LATS009                    Date:                  1/9/2009
 Issued By:              California Horse           Facility:              Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Failure to Properly
                         Identify/Present
                         Horse or Greyhound
 Division:               Horse                      Breed:              Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:           N/A

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 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $ 100                      Fine Paid:              N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS009                              Action Type: Initial   Ruling                Issue Date: 1/9/2009
 Action Text:
 Trainer BOB BAFFERT is fined ONE HUNDRED DOLLARS ($100.00)* for violation of California Horse Racing
 Board rules #1852 (Reporting to the Receiving Barn – Late) and #1894 (Duties of a Trainer) with his horse
 “Grecian” in the fifth race on January 2, 2009 at Santa Anita Park. *Rule #1532. Fine shall be paid to the
 Paymaster within seven calendar days from the date of this ruling, or the license of the person upon whom the
 fine has been imposed shall be suspended.

Ruling #: 13

 Ruling Number:          OTTS021                    Date:                   10/19/2007
 Issued By:              California Horse           Facility:               Oak Tree At Santa Anita
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Horse                      Breed:              Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Furosemide
 Fine Amount:            $ 300                      Fine Paid:      N/A
 Suspension Start:       None                       Suspension End: None
 Actions:

 Alpha Ruling: OTTS    021                      Action Type: Initial   Ruling              Issue Date: 10/19/2007
 Action Text:
 Trainer BOB BAFFERT is fined the sum of THREE HUNDRED DOLLARS ($300.00)* pursuant to California
 Horse Racing Board rule #1629 (Penalty for Late Declaration) for failure to have the horse Stormy Woods
 treated with Lasix in a timely fashion necessitating a late scratch on Saturday October 13, 2007; a violation of
 California Horse Racing Board rule #1845 (Authorized Bleeder Medication). *Rule #1532. Fine shall be paid to
 the Paymaster within seven calendar days from the date of this ruling, or the license of the person upon whom
 the fine has been imposed shall be suspended.

Ruling #: 14

 Ruling Number:          DMTD094                    Date:                   8/26/2006
 Issued By:              California Horse           Facility:               Del Mar
                         Racing Board
 Ruling Type:            Failure to Follow
                         Facility Regulations
 Division:               Horse                Breed:              Thoroughbred
 Effective Date:         N/A                  Race Date:          N/A
 Infraction Date:        N/A                  Infraction Faciliy: N/A

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 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $ 25                       Fine Paid:              N/A
 Suspension Start:       None                       Suspension End:         None
 Actions:

 Alpha Ruling: DMTD094                            Action Type: Initial   Ruling                 Issue Date: 8/26/2006
 Action Text:
 Trainer BOB BAFFERT is hereby fined twenty five dollars ($25.00)* for violation of stable area regulations
 pursuant to California Horse Racing Board Rule #1530 (Cases Not Covered by Rules and Regulations). *Rule #
 1532 – Fine shall be paid to the Paymaster within seven calendar days from the date of this ruling, or the person
 upon whom the fine is imposed shall be suspended


Ruling #: 15

 Ruling Number:          001                  Date:                         6/4/2006
 Issued By:              Kentucky Racing      Facility:                     Churchill Downs
                         Commission
 Ruling Type:            Failure to Follow
                         Facility Regulations
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:    N/A
 Fine Amount:      $ 500                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: 001                                  Action Type: Initial   Ruling                  Issue Date: 6/4/2006
 Action Text:
 Fined for interfering with and failure to obey the orders of security personal in the tunnel between the track and
 the paddock and in the paddock before the 10th race on May 6,2006.

Ruling #: 16

 Ruling Number:          01-036                            Date:                    3/24/2005
 Issued By:              California Horse Racing           Facility:                Unknown
                         Board
 Ruling Type:            Appeal/Stay Granted
 Division:               Unknown                           Breed:                   Unknown
 Effective Date:         N/A                               Race Date:               N/A
 Infraction Date:        N/A                               Infraction Faciliy:      N/A
 Race Number:            N/A                               Animal Name:             N/A
 Under Appeal:     False                                   Appeal Date:    N/A
 Fine Amount:      $0                                      Fine Paid:      N/A
 Suspension Start: None                                    Suspension End: None
 Actions:
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 Alpha Ruling: 01-036                             Action Type: Initial   Ruling                Issue Date: 3/24/2005
 Action Text:
 APPEAL IS SUSTAINED AND COMPLAINT IS DISMISSED.

Ruling #: 17

 Ruling Number:          44010                  Date:                               8/6/2004
 Issued By:              Iowa Racing Commission Facility:                           Prairie Meadows
 Ruling Type:            Trainer Responsibility
 Division:               Mixed                              Breed:                  Mixed
 Effective Date:         N/A                                Race Date:              N/A
 Infraction Date:        N/A                                Infraction Faciliy:     N/A
 Race Number:            N/A                                Animal Name:            N/A
 Under Appeal:           False                              Appeal Date:            N/A
 Fine Amount:      $ 100                                    Fine Paid:      N/A
 Suspension Start: None                                     Suspension End: None
 Actions:

 Alpha Ruling: 44010                                Action Type: Initial   Ruling                 Issue Date: 8/6/2004
 Action Text:
 ON JULY 2, 2004, THE ASSISTANT TRAINER REPRESENTING TRAINER ROBERT BAFFERT, SUBMITTED
 A PROPERLY EXECUTED TEMPORARY OWNERS LICENSE APPLICATION ON BEHALF OF THE
 ABSENTEE OWNER AUDRY HAISFIELD (NEVER TELL FARM). IN DOING SO, TRAINER ROBERT
 BAFFERT ACKNOWLEDGED ACCEPTANCE OF THE RESPONSIBILITY TO NOTIFY THE ABSENTEE
 OWNER OF THE CONDITIONS OF TEMPORARY LICENSURE, AND TRAINER ROBERT BAFFERT
 FURTHER UNDERSTOOD THAT SHOULD THE OWNER FAIL TO OBTAIN A PERMANENT LICENSE WITHIN
 15 CALENDAR DAYS, TRAINER ROBERT BAFFERT WOULD BE SUBJECT TO A FINE, SUSPENSION, OR
 BOTH. AUDRY HAISFIELD (NEVER TELL FARM) WAS ISSUED A TEMPORARY LICENSE ON JULY 2, 2004,
 WHICH EXPIRED ON JULY 19, 2004. AUDRY HAISFIELD (NEVER TELL FARM) HAS FAILED TO OBTAIN A
 PERMANENT LICENSE WITH THE DESIGNATED 15 CALENDAR DAYS, THEREFORE, TRAINER ROBERT
 BAFFERT IS HEREBY ASSESSED AN ADMINISTRATIVE PENALTY OF ONE HUNDRED DOLLARS
 ($100.00).

Ruling #: 18

 Ruling Number:          CDTH109                    Date:                   6/24/2004
 Issued By:              California Horse           Facility:               Hollywood Park
                         Racing Board
 Ruling Type:            Failure to Have
                         Horse Properly
                         Shod
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $ 100                      Fine Paid:              N/A
 Suspension Start: None                             Suspension End: None
 Actions:
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 Alpha Ruling: CDTH109                            Action Type: Initial   Ruling              Issue Date: 6/24/2004
 Action Text:
 IMPROPERLY SHOD FOR TURF COURSE.


Ruling #: 19

 Ruling Number:          12552                      Date:                   3/28/2003
 Issued By:              Louisiana Racing           Facility:               Fair Grounds
                         Commission
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:             Clenbuterol
                   (Thoroughbred)
 Fine Amount:      $ 1000                           Fine Paid:      Yes
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: 12552                              Action Type: Initial   Ruling              Issue Date: 3/28/2003
 Action Text:
 CLENBUTEROL, "KAFWAIN," 9TH RACE, 3/9. Horse disqualified.

Ruling #: 20

 Ruling Number:          LATS046                    Date:                   2/9/2003
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Failure to Properly
                         Identify/Present
                         Horse or Greyhound
 Division:               Unknown             Breed:                         Unknown
 Effective Date:         N/A                 Race Date:                     N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $ 100                      Fine Paid:              N/A
 Suspension Start:       None                       Suspension End:         None
 Actions:

 Alpha Ruling: LATS    046                         Action Type: Initial   Ruling                Issue Date: 2/9/2003
 Action Text:
 LATE TO THE RECEIVING BARN.



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Ruling #: 21

 Ruling Number:          DMTD094                    Date:                   9/8/2002
 Issued By:              California Horse           Facility:               Del Mar
                         Racing Board
 Ruling Type:            Failure to Properly
                         Identify/Present
                         Horse or Greyhound
 Division:               Unknown             Breed:                         Unknown
 Effective Date:         N/A                 Race Date:                     N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $ 100                      Fine Paid:              N/A
 Suspension Start:       None                       Suspension End:         None
 Actions:

 Alpha Ruling: DMTD094                              Action Type: Initial   Ruling               Issue Date: 9/8/2002
 Action Text:
 FAILED TO REPORT TO THE RECEIVING BARN BY THE PRESCRIBED TIME.

Ruling #: 22

 Ruling Number:          LATS221                    Date:                   4/12/2002
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:        N/A
 Under Appeal:           False                      Appeal Date:        N/A
 Drug:                   Phenylbutazone
 Fine Amount:            $ 500                      Fine Paid:              N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS221                            Action Type: Initial   Ruling              Issue Date: 4/12/2002
 Action Text:
 PHENYLBUTAZONE, "OFFICER," 2ND RACE, 11/3 -- SECOND OFFENSE.

Ruling #: 23

 Ruling Number:          LATS208                    Date:                   3/27/2002
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Medication/Drug
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                         Violation - Animal
 Division:               Unknown                    Breed:              Unknown
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Phenylbutazone
 Fine Amount:            $ 300                      Fine Paid:      N/A
 Suspension Start:       None                       Suspension End: None
 Actions:

 Alpha Ruling: LATS208                            Action Type: Initial   Ruling              Issue Date: 3/27/2002
 Action Text:
 PHENYLBUTAZONE, "FAVORITE FUNTIME," 8TH RACE, 2/17, WINNER.


Ruling #: 24

 Ruling Number:          LAFP008                             Date:                 9/14/2001
 Issued By:              California Horse Racing             Facility:             Los Angeles County
                         Board                                                     Fair (Fairplex)
 Ruling Type:            Medication/Drug Violation -
                         Animal
 Division:               Unknown                             Breed:                Unknown
 Effective Date:         N/A                                 Race Date:            N/A
 Infraction Date:        N/A                                 Infraction Faciliy:   N/A
 Race Number:            N/A                                 Animal Name:          N/A
 Under Appeal:           False                               Appeal Date:          N/A
 Drug:                   Dexamethasone
 Fine Amount:            $ 300                               Fine Paid:      N/A
 Suspension Start:       None                                Suspension End: None
 Actions:

 Alpha Ruling: LAFP008                            Action Type: Initial   Ruling               Issue Date: 9/14/2001
 Action Text:
 DEXAMETHASONE, "KINSHASA," 3RD RACE, 8/4.

Ruling #: 25

 Ruling Number:          SAC01-36                   Date:                   6/19/2001
 Issued By:              California Horse           Facility:               Unknown
                         Racing Board
 Ruling Type:            Appeal/Stay Denied,
                         Withdrawn, or
                         Waived
 Division:               Unknown                    Breed:              Unknown
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A

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 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $0                         Fine Paid:              N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: SAC    01-36                       Action Type: Initial   Ruling              Issue Date: 6/19/2001
 Action Text:
 RE: 6/16 (#CDTH 073) -- STAY DENIED.

Ruling #: 26

 Ruling Number:          CDTH073                    Date:                   6/16/2001
 Issued By:              California Horse           Facility:               Hollywood Park
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Morphine
 Fine Amount:            $0                         Fine Paid:      N/A
 Suspension Start:       6/16/2001                  Suspension End: 8/17/2001
 Actions:

 Alpha Ruling: CDTH     073                       Action Type: Initial   Ruling              Issue Date: 6/16/2001
 Action Text:
 MORPHINE - NAUTICAL LOOK, WINNER 7TH RACE, HOLLYWOOD PARK, 5-3-00


Ruling #: 27

 Ruling Number:          DMTD052                    Date:                   9/4/1999
 Issued By:              California Horse           Facility:               Del Mar
                         Racing Board
 Ruling Type:            Race Office/Track
                         Rule Violation
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:      $ 300                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:


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 Alpha Ruling: DMTD052                              Action Type: Initial   Ruling              Issue Date: 9/4/1999
 Action Text:
 VIOLATION OF TRACK POLICY WITH RESPECT TO TURF WORKOUTS.

Ruling #: 28

 Ruling Number:          DMTD048                    Date:                   8/31/1998
 Issued By:              California Horse           Facility:               Del Mar
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:    N/A
 Fine Amount:      $ 200                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: DMTD048                            Action Type: Initial   Ruling              Issue Date: 8/31/1998
 Action Text:
 98DM0036/NO LASIX/S6620

Ruling #: 29

 Ruling Number:    *N*65688                         Date:                   6/11/1998
 Issued By:        Texas Racing                     Facility:               Lone Star Park
                   Commission
 Ruling Type:      Medication/Drug
                   Violation - Animal
 Division:         Unknown                          Breed:                  Unknown
 Effective Date:   N/A                              Race Date:              N/A
 Infraction Date:  N/A                              Infraction Faciliy:     N/A
 Race Number:      N/A                              Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:            N/A
 Drug:             Phenylbutazone
 Fine Amount:      $ 250                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: *N*65688                           Action Type: Initial   Ruling              Issue Date: 6/11/1998
 Action Text:
 EXCESS PHENYLBUTAZONE (2ND OFFENSE).

Ruling #: 30

 Ruling Number:          *N*65687                   Date:                   5/7/1998
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 Issued By:              Texas Racing               Facility:               Lone Star Park
                         Commission
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:        N/A
 Under Appeal:           False                      Appeal Date:        N/A
 Drug:                   Phenylbutazone
 Fine Amount:            $ 100                      Fine Paid:      N/A
 Suspension Start:       None                       Suspension End: None
 Actions:

 Alpha Ruling: *N*65687                             Action Type: Initial   Ruling                   Issue Date: 5/7/1998
 Action Text:
 EXCESS PHENYLBUTAZONE.

Ruling #: 31

 Ruling Number:          LATS002                    Date:                   12/27/1996
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Race Office/Track
                         Rule Violation
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $ 200                      Fine Paid:              N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS002                          Action Type: Initial   Ruling                Issue Date: 12/27/1996
 Action Text:
 FAIL TO REG HORSE AS BLEEDER

Ruling #: 32

 Ruling Number:          LATS074                    Date:                   3/15/1995
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Failure to Conduct
                         Business in Proper
                         Manner
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
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 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:        N/A
 Under Appeal:           False                      Appeal Date:        N/A
 Fine Amount:      $ 100                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS074                            Action Type: Initial   Ruling              Issue Date: 3/15/1995
 Action Text:
 FAIL CONDUCT BUSINESS PROPERLY

Ruling #: 33

 Ruling Number:          LATS069                    Date:                   2/9/1994
 Issued By:              California Horse           Facility:               Unknown
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Phenylbutazone
 Fine Amount:            $ 750                      Fine Paid:      N/A
 Suspension Start:       None                       Suspension End: None
 Actions:

 Alpha Ruling: LATS    069                          Action Type: Initial   Ruling               Issue Date: 2/9/1994
 Action Text:
 $750 AND PROBATION THRU 8-31-94 - EXCESS BUTE FOUND IN SAMPLES TAKEN FROM "NORTHERN
 WOOL" AFTER THE 5TH RACE ON 1-15 AND "DANZIG WITHOUT" AFTER THE 1ST RACE ON 1-20.

Ruling #: 34

 Ruling Number:          LATS015                    Date:                   1/7/1994
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Phenylbutazone
 Fine Amount:            $ 300                      Fine Paid:              N/A

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 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS    015                          Action Type: Initial   Ruling                Issue Date: 1/7/1994
 Action Text:
 $300 - EXCESS BUTE FOUND IN SAMPLE TAKEN FROM "DATSDAWAYITIS" AFTER THE 3RD RACE ON
 12-4.


Ruling #: 35

 Ruling Number:    LATS005                          Date:                   12/31/1992
 Issued By:        California Horse                 Facility:               Los Angeles Turf Club
                   Racing Board
 Ruling Type:      Failure to Properly
                   Identify/Present
                   Horse or Greyhound
 Division:         Horse                            Breed:                  Thoroughbred
 Effective Date:   N/A                              Race Date:              N/A
 Infraction Date:  N/A                              Infraction Faciliy:     N/A
 Race Number:      N/A                              Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:            N/A
 Fine Amount:      $ 50                             Fine Paid:              N/A
 Suspension Start: None                             Suspension End:         None
 Actions:

 Alpha Ruling: LATS005                          Action Type: Initial   Ruling              Issue Date: 12/31/1992
 Action Text:
 HORSE ON GROUNDS LATE

Ruling #: 36

 Ruling Number:          LATS098                    Date:                   2/7/1992
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Horse                      Breed:              Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Glycopyrrolate
 Fine Amount:            $0                         Fine Paid:      N/A
 Suspension Start:       None                       Suspension End: None
 Actions:

 Alpha Ruling: LATS098                              Action Type: Initial   Ruling               Issue Date: 2/7/1992
 Action Text:

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 POS GLYCOPYRROLATE-91SA0373

Ruling #: 37

 Ruling Number:          LATS09                     Date:                   2/7/1992
 Issued By:              California Horse           Facility:               Unknown
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:              Unknown
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Glycopyrrolate
 Fine Amount:            $ 1000                     Fine Paid:      N/A
 Suspension Start:       None                       Suspension End: None
 Actions:

 Alpha Ruling: LATS09                               Action Type: Initial   Ruling               Issue Date: 2/7/1992
 Action Text:
 $1,000, 30 DAYS (15 STAYED AND SHALL SERVE 15 FROM 2-12 THRU 2-26) AND PROBATION THRU 12-
 31-92 - GLYCOPYRROLATE FOUND IN SAMPLE TAKEN FROM "GEE MARCUS," WINNER OF THE 2ND
 RACE ON 11-17.


Ruling #: 38

 Ruling Number:          LATS010                    Date:                   1/3/1992
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Race Office/Track
                         Rule Violation
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:      $0                               Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: LATS010                              Action Type: Initial   Ruling                   Issue Date: 1/3/1992
 Action Text:
 LATE DECLARATION

Ruling #: 39

 Ruling Number:          LATS01                     Date:                   1/3/1992
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 Issued By:        California Horse                 Facility:               Unknown
                   Racing Board
 Ruling Type:      Race Office/Track
                   Rule Violation
 Division:         Unknown                          Breed:                  Unknown
 Effective Date:   N/A                              Race Date:              N/A
 Infraction Date:  N/A                              Infraction Faciliy:     N/A
 Race Number:      N/A                              Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:            N/A
 Fine Amount:      $ 100                            Fine Paid:              N/A
 Suspension Start: None                             Suspension End:         None
 Actions:

 Alpha Ruling: LATS01                               Action Type: Initial   Ruling                  Issue Date: 1/3/1992
 Action Text:
 $100 - VIOLATION OF CHRB RULE #1629 (PENALTY FOR LATE DECLARATION).

Ruling #: 40

 Ruling Number:          HQQL034                          Date:                     12/12/1990
 Issued By:              California Horse Racing          Facility:                 Unknown
                         Board
 Ruling Type:            Trainer Responsibility
 Division:               Horse                            Breed:                    Thoroughbred
 Effective Date:         N/A                              Race Date:                N/A
 Infraction Date:        N/A                              Infraction Faciliy:       N/A
 Race Number:            N/A                              Animal Name:              N/A
 Under Appeal:           False                            Appeal Date:              N/A
 Fine Amount:            $0                               Fine Paid:                N/A
 Suspension Start:       None                             Suspension End:           None
 Actions:

 Alpha Ruling: HQQL034                          Action Type: Initial   Ruling                Issue Date: 12/12/1990
 Action Text:
 LASIX SECURITY VIO. #90LA0288

Ruling #: 41

 Ruling Number:          DMTD125                    Date:                   9/7/1990
 Issued By:              California Horse           Facility:               Del Mar
                         Racing Board
 Ruling Type:            Race Office/Track
                         Rule Violation
 Division:               Horse                      Breed:              Thoroughbred
 Effective Date:         N/A                        Race Date:          N/A
 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:            N/A

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 Under Appeal:     False                            Appeal Date:    N/A
 Fine Amount:      $ 200                            Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: DMTD125                              Action Type: Initial   Ruling            Issue Date: 9/7/1990
 Action Text:
 $200 - (PENALTY FOR LATE DECLARATION).

Ruling #: 42

 Ruling Number:          DMTD033                    Date:                   8/11/1990
 Issued By:              California Horse           Facility:               Del Mar
                         Racing Board
 Ruling Type:            Failure to Follow
                         Facility Regulations
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $0                         Fine Paid:              N/A
 Suspension Start:       None                       Suspension End:         None
 Actions:

 Alpha Ruling: DMTD033                            Action Type: Initial   Ruling            Issue Date: 8/11/1990
 Action Text:
 ILLEGAL PARKING

Ruling #: 43

 Ruling Number:          HQQL028                    Date:                   10/5/1989
 Issued By:              California Horse           Facility:               Unknown
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Drug:                   Procaine
 Fine Amount:            $0                         Fine Paid:              N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: HQQL028                            Action Type: Initial   Ruling            Issue Date: 10/5/1989

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 Action Text:
 MEDICATION- PROCAINE

Ruling #: 44

 Ruling Number:          LATS135                    Date:                   4/23/1989
 Issued By:              California Horse           Facility:               Los Angeles Turf Club
                         Racing Board
 Ruling Type:            Race Office/Track
                         Rule Violation
 Division:               Horse                      Breed:                  Thoroughbred
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $ 100                      Fine Paid:              N/A
 Suspension Start:       None                       Suspension End:         None
 Actions:

 Alpha Ruling: LATS135                            Action Type: Initial   Ruling              Issue Date: 4/23/1989
 Action Text:
 BLEEDER LIST-LATE REGISTRATION

Ruling #: 45

 Ruling Number:          *N*65665                   Date:                   7/9/1988
 Issued By:              California Horse           Facility:               Los Alamitos
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $0                         Fine Paid:              N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: *N*65665                             Action Type: Initial   Ruling               Issue Date: 7/9/1988
 Action Text:
 $300 - UNAUTHORIZED MEDICATION (TRIMETHOPRIM, COUGH MEDICATION). (H)

Ruling #: 46

 Ruling Number:          *N*65683                   Date:                   12/8/1987
 Issued By:              California Horse           Facility:               Unknown
                         Racing Board
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 Ruling Type:      Medication/Drug
                   Violation - Animal
 Division:         Unknown                          Breed:                  Unknown
 Effective Date:   N/A                              Race Date:              N/A
 Infraction Date:  N/A                              Infraction Faciliy:     N/A
 Race Number:      N/A                              Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:            N/A
 Fine Amount:      $0                               Fine Paid:              N/A
 Suspension Start: None                             Suspension End:         None
 Actions:

 Alpha Ruling: *N*65683                           Action Type: Initial   Ruling              Issue Date: 12/8/1987
 Action Text:
 $200 - VIOLATION OF RULE 1843(D) (MEDICATION - EXCESS BUTE).


Ruling #: 47

 Ruling Number:          *N*65666                   Date:                   9/16/1987
 Issued By:              California Horse           Facility:               Hollywood Park
                         Racing Board
 Ruling Type:            Race Office/Track
                         Rule Violation
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:    N/A
 Fine Amount:      $0                               Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: *N*65666                           Action Type: Initial   Ruling              Issue Date: 9/16/1987
 Action Text:
 $200 - VIOLATION OF RULE 1629 (PENALTY FOR LATE DECLARATION).

Ruling #: 48

 Ruling Number:          *N*65667                   Date:                   8/26/1987
 Issued By:              California Horse           Facility:               Hollywood Park
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A

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 Drug:             Phenylbutazone
 Fine Amount:      $0                               Fine Paid:      N/A
 Suspension Start: None                             Suspension End: None
 Actions:

 Alpha Ruling: *N*65667                           Action Type: Initial   Ruling         Issue Date: 8/26/1987
 Action Text:
 $200 - HORSE "TRICHENG" HAD EXCESS OF BUTE IN 6TH RACE ON 8-6.

Ruling #: 49

 Ruling Number:          *N*65684                   Date:                   3/23/1986
 Issued By:        California Horse                 Facility:               Unknown
                   Racing Board
 Ruling Type:      Medication/Drug
                   Violation - Animal
 Division:         Unknown                          Breed:                  Unknown
 Effective Date:   N/A                              Race Date:              N/A
 Infraction Date:  N/A                              Infraction Faciliy:     N/A
 Race Number:      N/A                              Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:            N/A
 Fine Amount:      $0                               Fine Paid:              N/A
 Suspension Start: None                             Suspension End:         None
 Actions:

 Alpha Ruling: *N*65684                           Action Type: Initial   Ruling         Issue Date: 3/23/1986
 Action Text:
 $500 AND PLACED ON PROBATION THRU 4-20 - VIOLATION OF RULE 1843(D) (MEDICATION IN EXCESS
 OF PERMITTED LEVEL).

Ruling #: 50

 Ruling Number:          *N*65679                   Date:                   3/14/1986
 Issued By:              California Horse           Facility:               Unknown
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $0                         Fine Paid:              N/A
 Suspension Start:       None                       Suspension End:         None
 Actions:

 Alpha Ruling: *N*65679                           Action Type: Initial   Ruling         Issue Date: 3/14/1986
 Action Text:
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 $300 - VIOLATION OF RULE 1843(D) (MEDICATION IN EXCESS OF PERMITTED LEVEL).

Ruling #: 51

 Ruling Number:    *N*65668                         Date:                   3/2/1986
 Issued By:        California Horse                 Facility:               Unknown
                   Racing Board
 Ruling Type:      Medication/Drug
                   Violation - Animal
 Division:         Unknown                          Breed:                  Unknown
 Effective Date:   N/A                              Race Date:              N/A
 Infraction Date:  N/A                              Infraction Faciliy:     N/A
 Race Number:      N/A                              Animal Name:            N/A
 Under Appeal:     False                            Appeal Date:            N/A
 Fine Amount:      $0                               Fine Paid:              N/A
 Suspension Start: None                             Suspension End:         None
 Actions:

 Alpha Ruling: *N*65668                             Action Type: Initial   Ruling                     Issue Date: 3/2/1986
 Action Text:
 $200 - VIOLATION OF RULE 1843(D) (MEDICATION IN EXCESS OF PERMITTED LEVEL).

Ruling #: 52

 Ruling Number:          *N*65669                   Date:                   3/30/1985
 Issued By:              California Horse           Facility:               Unknown
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                  Unknown
 Effective Date:         N/A                        Race Date:              N/A
 Infraction Date:        N/A                        Infraction Faciliy:     N/A
 Race Number:            N/A                        Animal Name:            N/A
 Under Appeal:           False                      Appeal Date:            N/A
 Fine Amount:            $0                         Fine Paid:              N/A
 Suspension Start:       None                       Suspension End:         None
 Actions:

 Alpha Ruling: *N*65669                           Action Type: Initial   Ruling                    Issue Date: 3/30/1985
 Action Text:
 $200 - VIOLATION OF RULE 1844(C-1)(HIGH BUTE).

Ruling #: 53

 Ruling Number:          *N*65680                          Date:                    6/26/1984
 Issued By:              California Horse Racing           Facility:                Los Alamitos
                         Board
 Ruling Type:            Trainer Responsibility
https://www.arci-members.com/Rulings/AllRulingsReport.asp?ID=2097139                                                         24/28
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 Division:               Unknown                           Breed:                 Unknown
 Effective Date:         N/A                               Race Date:             N/A
 Infraction Date:        N/A                               Infraction Faciliy:    N/A
 Race Number:            N/A                               Animal Name:           N/A
 Under Appeal:           False                             Appeal Date:           N/A
 Fine Amount:            $0                                Fine Paid:             N/A
 Suspension Start:       None                              Suspension End:        None
 Actions:

 Alpha Ruling: *N*65680                           Action Type: Initial   Ruling               Issue Date: 6/26/1984
 Action Text:
 $50 - FAILURE TO KEEP DETENTION STALL OF AN ENTERED REGISTERED BLEEDER UNDER
 SURVEILLANCE.

Ruling #: 54

 Ruling Number:    *N*65671                                Date:                  11/5/1983
 Issued By:        Arizona Department of                   Facility:              Turf Paradise
                   Racing
 Ruling Type:      Trainer Responsibility
 Division:         Unknown                                 Breed:                 Unknown
 Effective Date:   N/A                                     Race Date:             N/A
 Infraction Date:  N/A                                     Infraction Faciliy:    N/A
 Race Number:      N/A                                     Animal Name:           N/A
 Under Appeal:     False                                   Appeal Date:           N/A
 Fine Amount:      $0                                      Fine Paid:             N/A
 Suspension Start: None                                    Suspension End:        None
 Actions:

 Alpha Ruling: *N*65671                           Action Type: Initial   Ruling                   Issue Date: 11/5/1983
 Action Text:
 $100 - FAILURE TO SUBMIT TRAINER RESPONSIBILITY FORM FOR THE HORSE DOUBLE SASSEY.

Ruling #: 55

 Ruling Number:    *N*65670                                Date:                  11/5/1983
 Issued By:        Arizona Department of                   Facility:              Turf Paradise
                   Racing
 Ruling Type:      Trainer Responsibility
 Division:         Unknown                                 Breed:                 Unknown
 Effective Date:   N/A                                     Race Date:             N/A
 Infraction Date:  N/A                                     Infraction Faciliy:    N/A
 Race Number:      N/A                                     Animal Name:           N/A
 Under Appeal:     False                                   Appeal Date:           N/A
 Fine Amount:      $0                                      Fine Paid:             N/A
 Suspension Start: None                                    Suspension End:        None
 Actions:
https://www.arci-members.com/Rulings/AllRulingsReport.asp?ID=2097139                                                      25/28
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 Alpha Ruling: *N*65670                           Action Type: Initial   Ruling                   Issue Date: 11/5/1983
 Action Text:
 $100 - FAILURE TO SUBMIT TRAINER RESPONSIBILITY FORM FOR THE HORSE STRAW MAN JET.

Ruling #: 56

 Ruling Number:    *N*65681                         Date:                  11/2/1983
 Issued By:        Arizona Department               Facility:              Turf Paradise
                   of Racing
 Ruling Type:      Failure to Properly
                   Identify/Present
                   Horse or Greyhound
 Division:         Unknown                          Breed:                 Unknown
 Effective Date:   N/A                              Race Date:             N/A
 Infraction Date:  N/A                              Infraction Faciliy:    N/A
 Race Number:      N/A                              Animal Name:           N/A
 Under Appeal:     False                            Appeal Date:           N/A
 Fine Amount:      $0                               Fine Paid:             N/A
 Suspension Start: None                             Suspension End:        None
 Actions:

 Alpha Ruling: *N*65681                           Action Type: Initial   Ruling                   Issue Date: 11/2/1983
 Action Text:
 $100 - FAILURE TO BRING HORSE TO PADDOCK.

Ruling #: 57

 Ruling Number:    *N*65672                                Date:                  10/10/1983
 Issued By:        Arizona Department of                   Facility:              Turf Paradise
                   Racing
 Ruling Type:      Employment Violation
 Division:         Unknown                                 Breed:                 Unknown
 Effective Date:   N/A                                     Race Date:             N/A
 Infraction Date:  N/A                                     Infraction Faciliy:    N/A
 Race Number:      N/A                                     Animal Name:           N/A
 Under Appeal:     False                                   Appeal Date:           N/A
 Fine Amount:      $0                                      Fine Paid:             N/A
 Suspension Start: None                                    Suspension End:        None
 Actions:

 Alpha Ruling: *N*65672                         Action Type: Initial   Ruling               Issue Date: 10/10/1983
 Action Text:
 $50 - WORKING UNLICENSED HELP.

Ruling #: 58

 Ruling Number:          *N*65673                   Date:                  11/11/1981
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 Issued By:        Arizona Department               Facility:              Rillito
                   of Racing
 Ruling Type:      Race Office/Track
                   Rule Violation
 Division:         Unknown                          Breed:                 Unknown
 Effective Date:   N/A                              Race Date:             N/A
 Infraction Date:  N/A                              Infraction Faciliy:    N/A
 Race Number:      N/A                              Animal Name:           N/A
 Under Appeal:     False                            Appeal Date:           N/A
 Fine Amount:      $0                               Fine Paid:             N/A
 Suspension Start: None                             Suspension End:        None
 Actions:

 Alpha Ruling: *N*65673                          Action Type: Initial   Ruling                   Issue Date: 11/11/1981
 Action Text:
 $50 - FAILURE TO HAVE OWNER OF HORSE PROPERLY LICENSED AT TIME OF ENTRY.

Ruling #: 59

 Ruling Number:    *N*65685                                  Date:                   1/12/1978
 Issued By:        California Horse Racing                   Facility:               Unknown
                   Board
 Ruling Type:      By Order of
                   Commission/Administration
 Division:         Unknown                                   Breed:                  Unknown
 Effective Date:   N/A                                       Race Date:              N/A
 Infraction Date:  N/A                                       Infraction Faciliy:     N/A
 Race Number:      N/A                                       Animal Name:            N/A
 Under Appeal:     False                                     Appeal Date:            N/A
 Fine Amount:      $0                                        Fine Paid:              N/A
 Suspension Start: None                                      Suspension End:         None
 Actions:

 Alpha Ruling: *N*65685                           Action Type: Initial   Ruling                    Issue Date: 1/12/1978
 Action Text:
 RE: RULING OF 8-22-77: UPON CONCLUSION OF THE PERIOD OF ONE YEAR FROM 8-22-77 AND THERE
 BEING NO ADDITIONAL CAUSE FOR SUSPENSION OR DENIAL OF LICENSE, ELIGIBLE FOR TRAINER
 LICENSE.

Ruling #: 60

 Ruling Number:          *N*65677                   Date:                  8/22/1977
 Issued By:              California Horse           Facility:              Sacramento
                         Racing Board
 Ruling Type:            Medication/Drug
                         Violation - Animal
 Division:               Unknown                    Breed:                 Unknown
 Effective Date:         N/A                        Race Date:             N/A
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 Infraction Date:        N/A                        Infraction Faciliy: N/A
 Race Number:            N/A                        Animal Name:        N/A
 Under Appeal:           False                      Appeal Date:        N/A
 Drug:                   Apomorphine
 Drug:                   Morphine
 Fine Amount:            $0                         Fine Paid:      N/A
 Suspension Start:       None                       Suspension End: None
 Actions:

 Alpha Ruling: *N*65677                           Action Type: Initial   Ruling               Issue Date: 8/22/1977
 Action Text:
 SUSPENDED, CASE REFERRED PURSUANT TO RULE #1845 (PROHIBITED DRUGS--APOMORPHINE)
 AND #1887 (TRAINER TO INSURE CONDITION OFHORSE).

Ruling #: 61

 Ruling Number:    *N*65674                                Date:                  2/10/1975
 Issued By:        Arizona Department of                   Facility:              Rillito
                   Racing
 Ruling Type:      Careless/Unsafe/Improper
                   Riding or Driving
 Division:         Unknown                                 Breed:                 Unknown
 Effective Date:   N/A                                     Race Date:             N/A
 Infraction Date:  N/A                                     Infraction Faciliy:    N/A
 Race Number:      N/A                                     Animal Name:           N/A
 Under Appeal:     False                                   Appeal Date:           N/A
 Fine Amount:      $0                                      Fine Paid:             N/A
 Suspension Start: None                                    Suspension End:        None
 Actions:

 Alpha Ruling: *N*65674                           Action Type: Initial   Ruling               Issue Date: 2/10/1975
 Action Text:
 7 CALENDAR DAYS THRU 2-16 FOR CARELESS RIDING.




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